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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION
                                        ______

DAVID ADAMS,

                       Plaintiff,                     Case No. 1:21-cv-0572

v.                                                    Honorable Ray Kent

MATT MACAULEY et al.,

                       Defendants.
____________________________/

                       ORDER LIFTING STAY AND FOR SERVICE

               This is a prisoner civil rights action. The Court previously reviewed the complaint

under 28 U.S.C. §§ 1915(e) and 1915A and 42 U.S.C. § 1997e(c), to determine whether it was

frivolous, malicious, failed to state a claim upon which relief could be granted or sought monetary

relief against a defendant that was immune from such relief. The Court then referred the case to

the Pro Se Prisoner Civil Rights Litigation Early Mediation Program and entered an order staying

the case for any purpose other than mediation. The case was not resolved through the early

mediation program. Accordingly,

               IT IS ORDERED that the stay of this proceeding that was entered to facilitate the

mediation is LIFTED.

               IT IS FURTHER ORDERED that the agency having custody of Plaintiff shall

again commence collection of the filing fee as outlined in the Court’s prior order granting Plaintiff

leave to proceed in forma pauperis.

               IT IS FURTHER ORDERED that the 90-day period for service set forth in

Federal Rule of Civil Procedure 4(m) shall run, starting with the date of this order.
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                 IT IS FURTHER ORDERED that the Clerk shall forward the amended complaint

and exhibits (ECF Nos. 14, 14-1–14-3)1 to the U.S. Marshals Service, which is authorized to mail

a request for waiver of service to Defendant Langdon in the manner prescribed by Fed. R. Civ. P.

4(d)(2). If waiver of service is unsuccessful, summons shall issue and be forwarded to the U.S.

Marshals Service for service under 28 U.S.C. § 1915(d).

                 IT IS FURTHER ORDERED that Defendant Langdon shall file an appearance of

counsel (individual Defendants may appear pro se if they do not have counsel) within 21 days of

service or, in the case of a waiver of service, 60 days after the waiver of service was sent. Until

so ordered by the Court, no Defendant is required to file an answer or motion in response to the

complaint, and no default will be entered for failure to do so. See 42 U.S.C. § 1997e(g)(1). After

Defendant Langdon has filed an appearance, proceedings in this case will be governed by the

Court’s Standard Case Management Order in a Prisoner Civil Rights Case.



Dated:     November 3, 2021                                 /s/ Ray Kent
                                                            Ray Kent
                                                            United States Magistrate Judge




1
 In addition to the main document (ECF No. 14), factual allegations are contained within the Exhibits (ECF Nos.
14-1, 14-2, and 14-3 at PageID.85-86, 91, 96-97, 102-103, 105, 111-112, 119, 121-125, 127-128, 134-135, 139, 142,
145-146, 150-151, 155-156, 160-161, and 165).

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